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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                   No. 20-30163
              Plaintiff,
                                                   District Judge Gershwin A. Drain
vs.                                                Magistrate Judge R. Steven Whalen



              Defendant.
                                        /

                  ORDER CLARIFYING CONDITIONS OF BOND

       Defendant Charles Donald Mok has filed an emergency motion to modify

conditions of pretrial relief [ECF No. 10]. The Honorable Gershwin A. Drain denied the

motion in part, but referred the portion of the motion seeking clarification as to that

portion of the conditions restricting Dr. Mok’s practice consistent with the executive

orders in states where he practices.

       Insofar as it seeks clarification, the motion [ECF No. 10] is GRANTED. The Court

will amend and clarify the conditions of pretrial release as follows:

       “Defendant will comply with the executive orders in any state in which
       Defendant practices regarding restrictions on non-essential and/or non-life
       supporting medical procedures, and any other restrictions on medical
       practice imposed by those states.”

       All other conditions remain the same, including that the Defendant “cannot

perform any Vitamin C IV infusion at any of his locations or any affiliated locations, to


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include IV Drip in Birmingham, MI.”

       IT IS SO ORDERED.

                                          s/R. Steven Whalen
                                          R. STEVEN WHALEN
                                          United States Magistrate Judge

Dated: May 21, 2020




                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was sent to parties of record on
May 21, 2020 electronically and/or by U.S. mail.

                                          s/Carolyn M. Ciesla
                                          Case Manager




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